1                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
2

3    UNITED STATES OF AMERICA      )       CASE NO. 1:13CR435-1
                                   )
4             vs.                  )
                                   )       Winston-Salem, North Carolina
5    BRIAN DAVID HILL              )       June 30, 2015
     ______________________________        2:47 p.m.
6

7

8        TRANSCRIPT OF THE SUPERVISED RELEASE VIOLATION HEARING
                BEFORE THE HONORABLE THOMAS D. SCHROEDER
9                     UNITED STATES DISTRICT JUDGE

10

11   APPEARANCES:

12   For the Government:         ANAND RAMASWAMY, AUSA
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20

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         Proceedings recorded by mechanical stenotype reporter.
25        Transcript produced by computer-aided transcription.

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1                           P R O C E E D I N G S

2         (The Defendant was present.)

3              MR. RAMASWAMY:     May the Government call the next

4    matter?

5              THE COURT:    Yes.

6              MR. RAMASWAMY:     The Government would call United

7    States versus Brian David Hill in 1:13CR435-1.         He is

8    represented by Ms. Pryor.      The matter is here for hearing on a

9    supervised release violation.

10             THE COURT:    All right.    This time, I think,

11   Mr. Cameron and Ms. Burton are here on this matter.

12             Ms. Pryor, good afternoon to you.

13             MS. PRYOR:    Good afternoon, Your Honor.

14             THE COURT:    And, Mr. Hill, good afternoon to you.

15             We are here today for a hearing on a request to

16   revoke supervised release.      Did you receive a copy of the

17   petition in this case, Ms. Pryor?

18             MS. PRYOR:    I did, Your Honor.

19             THE COURT:    Did you review that with your client?

20             MS. PRYOR:    I have reviewed it, Your Honor.

21             THE COURT:    Are you prepared for a proceeding today?

22             MS. PRYOR:    We are prepared, Your Honor.

23             THE COURT:    Mr. Hill, did you receive a copy of the

24   petition in your case, sir?

25             THE DEFENDANT:     Yes, sir.

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1                THE COURT:   And did you review that with your

2    attorney?

3                THE DEFENDANT:   Yes, sir.

4                THE COURT:   Do you understand the allegations in the

5    petition?

6                THE DEFENDANT:   Yes, sir.

7                THE COURT:   All right.   Thank you.    You may have a

8    seat.

9                We are here today because the petition alleges that

10   on April 28, 2015, Mr. Hill was verbally abusive toward

11   Probation Officer Kristy Burton and failed to follow her

12   instructions; and it's amended by Judge Osteen to indicate that

13   as part of this proceeding, the Court would inquire about

14   Mr. Hill's possible access to an online computer service, which

15   would constitute a violation of the terms of his supervised

16   release, unless previously approved by the probation officer.

17               Does the Defendant admit or deny these allegations?

18               MS. PRYOR:   Your Honor, he denies.

19               THE COURT:   All right.

20               MR. RAMASWAMY:   The Government would call Kristy

21   Burton.

22   FEDERAL PROBATION OFFICER KRISTY BURTON, GOVERNMENT'S WITNESS,

23   at 2:49 p.m., being first duly sworn, testified as follows:

24                            DIRECT EXAMINATION

25

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1    BY MR. RAMASWAMY

2    Q     Would you state your name and occupation, please.

3    A     Kristy Burton.     I'm a United States probation officer.

4    Q     Are you the supervising probation officer for Mr. Hill?

5    A     I am, yes, sir.

6    Q     When did he come under your supervision?

7    A     November 14th I believe is the date.

8    Q     And did you cause to be issued this petition for a warrant

9    for the violations listed therein?

10   A     I was, yes, sir.

11   Q     I want to ask you first about the living arrangements for

12   Mr. Hill.    Can you describe those for the Court, please?

13   A     I can.    He lives with -- he has his own apartment in the

14   basement area.     The home is his -- belongs to his grandparents,

15   and it is broken up into four apartments.          The grandparents

16   live on the main level, his mother lives in a separate

17   apartment, I believe one is empty, and Mr. Hill lives on the

18   bottom.

19   Q     And you've described these as apartments.          Is this

20   otherwise what would be a single-family residence structure?

21   A     It is, yes, but it has been legally broken up.           They each

22   have their own numbers.

23   Q     Are there conditions restricting computer use, telephone

24   use, other device use by Mr. Hill?

25   A     There is restrictions in regards to using anything that

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1    has access to online services.

2    Q     Can you -- is Mr. Hill prohibited from being on a

3    computer?

4    A     No, he is not.

5    Q     Do you know if he possesses a computer?

6    A     He does, yes.

7    Q     And did he also possess a cell phone during the period of

8    his supervision?

9    A     I don't know if he possessed it as far as it was in his

10   name.    I believe -- my understanding of it was it was his

11   grandmother's, and she let him use it, but he did have it on

12   him occasionally.

13   Q     I want to get back to that in a moment; but in relation to

14   the living arrangements, were there three or four apartments

15   within the house?

16   A     I believe there are four apartments, but only three of

17   them are occupied.

18   Q     Is there -- have there been any difficulties with you

19   supervising Mr. Hill that relate to the apartment division or

20   the living arrangements?

21   A     There are in regards to computer access.          Other family

22   members in the home have computers; and in regards to being

23   able to search those, I can't legally do it because they are

24   not in his possession or in his apartment.          So I have some

25   concerns that he has access to those, and I can't do anything

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1    about that.

2    Q     To your knowledge, do any of the other computers have

3    Internet access?

4    A     I believe his mother's does, but I can't inform anymore of

5    the grandparents.      I haven't been able to walk through the

6    entire dwelling to see.

7    Q     Going back to that phone you mentioned, did you say it was

8    a TracFone?

9    A     Yes, it was.     I believe it's a prepaid phone.

10   Q     And would you tell the Court about how you came to be

11   aware of Mr. Hill using that particular phone?

12   A     Well, originally, he told me he was texting, but I was not

13   aware that there were any documents being sent via text.              I

14   knew that there were documents being sent via fax, but I did

15   not know of any other documentation.         So I did know that he was

16   texting originally, and I didn't have any issues with that.               He

17   had received -- he told me he had received some text messages

18   which contained child pornography, and he willingly gave me one

19   of the phones; and I still have that in evidence lockup in our

20   office, and I believe the minutes were transferred to another

21   phone that he continued to text from.         So I was aware that he

22   had the phone, but he always said that it was his

23   grandmother's, and she let him use it for legal purposes

24   generally.

25   Q     Did anything happen in relation to that phone and the

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1    courts?

2    A     I became aware that multimedia messaging was occurring,

3    that documents were being sent to the clerk's office and being

4    filed through ECF that way.       So, yes, that's what had occurred.

5    Q     Do you know if anything -- in regards to the clerk's

6    office, was anything sent?

7    A     There had been emails sent to the courts, but I cannot

8    verify that it was from that phone.

9    Q     Do you know whether or not those emails were from

10   Mr. Hill?

11   A     I cannot -- they were all sent from a Tor account.              So I

12   think he has sent some emails to the Court, but they were only

13   in regards to documents.       Otherwise, I can't confirm that they

14   were sent from his phone.

15   Q     You mentioned a Tor account.       Do you know what Tor is?

16   A     I am vaguely aware of what Tor is.        It's an anonymous

17   email account server.

18   Q     Have you seen the emails that were sent from a Tor address

19   to the Court?

20   A     I have, yes.     I don't know if I have seen all of them, but

21   I have seen some of them, yes.

22   Q     Have you had an opportunity -- do you have any of those?

23   A     I may.    I may not have actual copies of them now, but I do

24   have them in my notes, or at least a set of them in my notes.

25   Q     Well, let me stop you there.       Let's go back to the

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1    TracFone.    You stated you were aware and had no issue with

2    Mr. Hill texting; correct?

3    A     Correct.

4    Q     And you were aware of him receiving messages?

5    A     I mean, I just assumed he was receiving messages.           We

6    never spoke about it.

7    Q     Did you know that anything was being sent to the ECF

8    filing system through a TracFone?

9    A     I was made aware of that, yes, by the clerk and the U.S.

10   Marshal Mr. Moore that documents were being filed from the

11   TracFone.

12   Q     Had Mr. Hill made you aware of that before?

13   A     No.   I wasn't aware that he was sending them that way, no.

14   Q     Did you ever ask him about that?

15   A     I did.    I addressed it on the April 28th visit.         That was

16   part of what we were discussing.

17   Q     Would you describe the April 28th visit, please, for the

18   Court?

19   A     I arrived at the home, and he was not in his apartment.

20   He was actually upstairs at his grandparents.           So I knocked on

21   that door.     His grandfather answered the phone [sic] and got

22   Mr. Hill, and I believe he went and got the mother, I was later

23   informed; but everybody was in the room.          It was me and him,

24   his grandparents, and his mother.

25         I stood by the door and was talking to Mr. Hill originally

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1    about the text messaging.        I brought -- I said there were some

2    issues that we need to discuss, and we spoke about the document

3    texting to the Court, and I had been informed by the Court --

4    or the clerk's office that they had told him to stop, but he

5    had not stopped at that point.        So I was directing him to cease

6    that behavior.      He indicated -- he got very upset and indicated

7    that he had already stopped that behavior.          He received a

8    letter from the clerk's office, and he was no longer doing that

9    and started pacing and hit a couple of things off the nearby

10   tables onto the ground.

11          And at that point, I said, you know, I will leave, and we

12   can meet at the probation office to finish the discussion; and

13   he said, no, I will be okay, I'm okay, or something to that

14   effect, and I was, like, all right.         I let him take a second

15   and he stopped, and we continued the discussion about the

16   documents and sending multimedia messaging.           He was upset

17   again.    And we addressed in that conversation as well his need

18   to go to an appointment with a psychiatrist through Piedmont

19   Community Services, which he had canceled, and he told me that

20   he didn't need that.

21   Q      I want to ask you about that appointment.         Is that

22   something you helped arrange?

23   A      It was, yes.    I spoke with his caseworker, Ms. Patterson,

24   in Piedmont, and we both agreed that it would be beneficial for

25   him to go meet with a psychiatrist for possible medications.

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1    Q      To your knowledge, on April 28th of this year when you

2    made the visit, was he on any medication?

3    A      Besides for his other medical issues, no, he was on no --

4    none, no medications.

5    Q      Now, the medical issues, do you mean the diabetes?

6    A      Yes.

7    Q      The counseling that was set up, was that something that

8    was in his judgment, that he's to follow mental health

9    treatment?

10   A      It is listed in his conditions, yes, and then specifies

11   sex offender treatment as well.

12   Q      Now, did he follow through with those appointments?

13   A      Which appointments?

14   Q      Any of them?

15   A      He did follow through with his sex offender treatment

16   appointments.     He had gone to all of those as directed, and he

17   had missed a couple of Piedmont appointments, which was what we

18   were talking about.      It may have just been one, and he canceled

19   the psychiatrist appointment, and so we were just there to

20   address that he needed to redo those to make sure that he was

21   going.

22   Q      Did you ask him why he canceled his appointment?

23   A      It didn't come up in that conversation.         He got very

24   agitated, continued to hit things and started calling me names

25   and tried to leave the room, and I directed him to come back

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1    and have a seat, which he complied with, but he continued to

2    call me names and hit things.        So I left.    So there was no

3    opportunity really to continue the conversation.

4    Q      When you say he was hitting things or hitting things off

5    the table, what kind of things?

6    A      I mean, one was a telephone he hit off the table beside

7    him.    There were some decorative items, I believe plates and

8    glass stuff, he would just hit onto the floor.

9    Q      Was he breaking things?

10   A      Nothing was broken, no, not that I am aware of.

11   Q      How close to you is that table, please?

12   A      I mean, we were all in the living room.         So my estimate

13   would be he was probably 8 or 10 feet away from me.

14   Q      Did he raise his voice?

15   A      Yes.   I mean, he was agitated.      His volume got louder.

16   Q      There are descriptions in the petition of what you

17   described as cussing.       What exactly did he call you?

18   A      He called me a jerk.      He told me, "You know what?       You are

19   a jerk."      When he sat down, he called me an asshole twice.

20   Q      In response to all of those actions, what did you do?

21   A      Well, after he called me an asshole the second time, I

22   left the residence.

23   Q      Why?

24   A      I felt unsafe.    I mean, his behavior was continuing to

25   escalate even though he sat down, and we weren't getting

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1    anywhere besides name calling.        So I didn't feel like there was

2    any need to be there any longer and to agitate the situation

3    any further.

4    Q      Who else was in the room when this was going on?

5    A      His grandparents and his mother were all in the room.

6    Q      Did it appear anyone else was trying to deescalate the

7    situation?

8    A      At one point I believe they all were trying to say

9    something to him to the degree of calm down.           You know, she's

10   just doing her job.      You just need to calm down.

11   Q      Did that seem to have any effect on Mr. Hill?

12   A      I mean, he would -- there were -- on two occasions, he

13   said he would be okay, the first one being when I said I was

14   about to leave and he could meet me at the probation office,

15   and I think I had said that another time, and he said, no, he

16   would be okay; but, I mean, it never went away.

17   Q      One moment.    In addition to what you alleged in the

18   petition, there is a handwritten condition about inquiring as

19   to the online activity or online devices.          To your knowledge --

20   what's your knowledge of any online activity or devices that

21   might access the Internet that Mr. Hill may have used?

22   A      It's purely speculation.      There are -- have been several

23   articles that have been written online under a different name.

24   I believe the name is a Sheila Dogwood, and I don't know who

25   this individual is, but it's always in reference to Mr. Hill's

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1    case, as far as I can tell.        They never say anything more.

2    There have been several emails sent from a Tor account.                I'm

3    speculative that he is doing some of that, given that I believe

4    since he's been locked up, there have been no other activity on

5    that front at all from my last visit, but I can't prove any of

6    that.

7    Q      Do any of those either online postings -- do any of those

8    online postings you mentioned -- are they the same as the ECF

9    filings you have seen from Mr. Hill to the Court?

10   A      It is all in regards to the same documents and the same

11   subject matters, so, yes.

12   Q      Are you saying you have no personal knowledge that he's

13   doing that?

14   A      I do not, no.

15   Q      Does the content of any of those show what could be

16   described as intimate knowledge of Mr. Hill's situation?

17   A      Yes, sir.    I mean, it's the same information of him being

18   set up.    It's the same type of information that he faxes to me

19   or the Court or files within the system.          It's the same

20   language every time.

21   Q      Have you done anything with the TracFone that was

22   seized -- or did you seize the TracFone from Mr. Hill?

23   A      I seized the first TracFone, yes.        Nothing has been done

24   with it yet.     At this moment, we don't have the capability to

25   search that type of phone, and I have not found a law

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1    enforcement agency that will search it for me.           So as to

2    obtaining any evidence or anything, any information that

3    Mr. Hill has provided for me, I have not done anything with it.

4    Q      You said the first phone.      Is that the one that Mr. Hill

5    told you contained the child pornography?

6    A      Correct, yes.    I never looked at the phone -- I mean, I

7    looked at it in his presence that day to turn it off, but I

8    have not touched it since.        It's been in our evidence.

9    Q      Did he say how he knew it contained child pornography?

10   A      He accidentally opened the document, which I believe was

11   also sent from an anonymous account, and he saw that it

12   contained child pornography.

13   Q      So is it your statement that nothing has been done with

14   that phone?

15   A      Not at this point, no.

16   Q      And there's been a second phone that he's been using?

17   A      I believe his -- they got another phone and transferred

18   the minutes, but I have not had any access to that phone.

19                MR. RAMASWAMY:    I have no other questions.

20                THE COURT:    Ms. Pryor, any cross?

21                MS. PRYOR:    Yes, Your Honor.

22                               CROSS-EXAMINATION

23   BY MS. PRYOR

24   Q      Officer Burton, before you visited Mr. Hill, did you know

25   about his mental health conditions?

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1    A      Yes, ma'am.

2    Q      Okay.   Did you know that he had already took a

3    psychological test for the federal custody -- while in federal

4    custody?

5    A      Yes.

6    Q      And you are aware of all the results that were revealed,

7    and those results were revealed in his PSR; is that correct?

8    A      Yes, ma'am.

9    Q      You are aware that he suffers from autism?

10   A      I am, yes, ma'am.

11   Q      And you are aware that, you know, based on what the

12   psychology [sic] reported, that he has a difficulty of

13   understanding other people in social interactions?

14   A      The report indicates that people who suffer from autism

15   can exhibit those, yes, ma'am, I do.

16   Q      And do you believe that that report was written based on

17   the psychological -- psychologist's evaluation of Mr. Hill?

18   A      It was, yes, ma'am.

19   Q      And do you believe that that report was true or believe

20   that that report came out of her or his -- I believe it was a

21   her who actually did the testing.         Do you believe that she'd

22   done that based on her experience and knowledge in the

23   community?

24   A      I'm sure, yes.

25   Q      Okay.   And based on your reading of the PSR, did you

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1    notice that it also stated that any time that there is an

2    emotionally overwhelming situation or when Mr. Hill has felt --

3    feel any threat -- threatened or anything like that, that he

4    does tend to have some aggressive behavior and not only him,

5    but others in his type of -- that has the type of autism that

6    he has also also has those type of things as well?

7    A      I did read that, yes.

8    Q      Are you aware that he sometimes does not have the social

9    skills necessary to respond appropriately?

10   A      I don't really understand the question.

11   Q      It's stated in the presentence report.         Would you like me

12   to walk over and --

13   A      I mean, I don't really know what you are asking.

14   Q      I am asking did you remember reading that, that he does

15   not have the social skills necessary to respond appropriately?

16   A      I don't remember reading that exact phrase, no.

17                MS. PRYOR:    Your Honor, may I approach the witness,

18   Your Honor?     Your Honor, it's in the PSR.

19                THE COURT:    If it's in the PSR, it's in the PSR.

20                MS. PRYOR:    All right.    Thank you, Your Honor.

21   BY MS. PRYOR

22   Q      Also, are you aware that Mr. Hill suffers from

23   Obsessive-Compulsive Disorder?

24   A      I had read that, yes, ma'am.

25   Q      Okay.   And are you aware that his sending documents to the

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1    Court on his behalf is a way of dealing with this disorder?

2    A      It had indicated that that is a possibility, yes, ma'am.

3    Q      Are you aware that when he does send documents to the

4    Court, that it reduces his anxiety?

5    A      I believe the statement was that it may temporarily reduce

6    it, yes.

7    Q      And you did also probably note in the PSR that he has high

8    levels of anxiety, and those things can only be corrected

9    through generalized -- through his Generalized Anxiety

10   Disorder?

11   A      I did read about that, yes.

12   Q      Okay.   And out of all -- reading all of those things, what

13   were your -- what things did you do, or what type of actions or

14   recourse or research did you do before you went to go speak to

15   Mr. Hill on April 28th?

16   A      Prior to that specific date?

17   Q      Yes, ma'am.

18   A      I mean, I had read his presentence report, and based on my

19   interactions with him, up until that point, I didn't do

20   anything specific to prepare for that exact meeting.

21   Q      Okay.   But you know on that exact meeting that you would

22   be telling him that he could not do something or you knew that

23   there was going to be some type of maybe misunderstanding of

24   that -- in that particular, I guess, situation?

25   A      Yes, but I would describe that as most of our meetings

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1    were like that.

2    Q      Okay.   Can you go back to maybe the first meeting?             Was

3    your first meeting that you met with Mr. Hill -- was it about

4    what he could -- that someone had directed and told him he

5    could not do something that he had been doing that helped him

6    within -- with his anxiety?

7    A      I don't know that that was a discussion at our very first

8    meeting.

9    Q      Okay.

10   A      I initially met with him and then met with him the very

11   next day with his conditions because I did not have those at

12   that point.

13   Q      Okay.

14   A      So if what you are referring to is me talking to him about

15   his conditions of release --

16   Q      Yes.

17   A      -- that was the second meeting I had with him.

18   Q      And that second meeting when you talked about -- talked to

19   him about his conditions of release, can you tell me where that

20   meeting was located?

21   A      It was at his home in his apartment actually.

22   Q      And was his mother present?

23   A      She was.

24   Q      And his grandfather?

25   A      I don't think they were present for the entire time.             They

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                          Cross -- PO Pryor                                 20


1    came down, but I don't think they sat through the whole thing,

2    but I could be wrong on that.

3    Q      Okay.   And when you were talking to Mr. Hill regarding the

4    conditions of release, were these things that had already been

5    stated to him in court?

6    A      Yes.

7    Q      Okay.   And at that time, when you met Mr. Hill, I believe

8    this would have been your second occasion meeting with him, did

9    you -- I mean, although he stands six -- a little bit over six

10   foot, would you have stated that your initial interaction with

11   him -- that he -- his mannerism was the same of a normal

12   25-year-old?

13   A      No, ma'am.

14   Q      And knowing that, had you taken any -- had you talked to

15   anyone in your office about someone else who they might have

16   dealt with with autism?

17   A      Of course.    I've staffed this case with numerous people.

18   Q      Okay.   And what -- and just to help me understand, what

19   things did you learn about someone who deals with autism and

20   how to supervise?

21   A      Well, unfortunately, I have no reference point.          There is

22   nobody else in my office who has supervised anybody with

23   autism.    So there were no answers provided.

24   Q      There were no answers provided.       Did you ask your

25   supervisor to send you maybe to some training on that?

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                          Cross -- PO Pryor                                 21


1    A      No.   Training for probation officers specifically to

2    address dealing with people with autism, to my knowledge, does

3    not necessarily exist.       However, I have been to basic law

4    enforcement interaction with people who suffer from autism.

5    Q      Okay.   And can you -- well, at your training, did they

6    describe a situation of when you have to speak to an individual

7    who has autism, the aggressive behavior?

8    A      I mean, yes, they provided some examples.

9    Q      Okay.

10   A      The statement generally is if you've met one person with

11   autism, you've met one person with autism.          Unfortunately, it's

12   a diagnosis that has no black-and-white answer.           People exhibit

13   things differently and deal with things differently.            So there

14   is no one answer and no one solution to this.

15   Q      Okay.   And so knowing that, did you speak with his

16   grandparents who raised him?

17   A      I have spoken with them on occasion, but about that

18   specific incident, no, if that's your question.

19   Q      No, my question is before -- knowing -- being that you

20   were going to be supervising Mr. Hill I believe for a number of

21   years, did you talk to them about how it was going to be best

22   to communicate with Mr. Hill?

23   A      I don't think that we specifically had that conversation,

24   no.

25   Q      What about -- did you speak to his mother about that?

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                          Cross -- PO Pryor                                    22


1    A      We discussed him prior to his release and his behavior,

2    but I can't tell you verbatim what that conversation was and

3    whether or not they gave me step-by-step tips to -- how to deal

4    with it.

5    Q      Okay.

6    A      I have since met with them since this incident, if that's

7    what you were inquiring.

8    Q      Do you believe he lives in a supportive environment

9    currently?

10   A      I believe his family is supportive, yes, but I also

11   believe that it is a very co-dependent environment.            It may not

12   be the best place for him to be considering his treatment.

13   Q      Can you explain that a little further?

14   A      Well, when I spoke with the family, the conversation is is

15   that his behaviors -- we just need to walk away and make sure

16   that he's happy and be able to deal with that, and that's not

17   really a solution.      That's just placating his behavior.            So I

18   have some concerns about that.

19          I know the family -- the grandparents travel back and

20   forth between a home in North Carolina and a home in

21   Martinsville.     So his mother is designated to take care of him,

22   and I believe she had to quit her job to do that.            She -- they

23   expressed prior to his release some issues he was having

24   before, indicated it was only a temporary setting, and that

25   changed as we went through.        They did not originally want him

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                          Cross -- PO Pryor                                 23


1    to stay in the home because of his behaviors before he was

2    incarcerated.

3           After further conversation, later on, at one point I

4    showed up at the home, and, apparently, there had been an

5    episode where Mr. Hill hit his grandfather.           There was some

6    tense relations.      They didn't specifically explain all of it,

7    what had happened, and his mother was going to the hospital

8    herself to deal with some of her own issues and some issues

9    with Mr. Hill.      That's the way it was explained to me, and I

10   just happened to show up during that time frame.

11   Q      Okay.   And while you were there in that environment, did

12   they call the police?       Was anyone hurt?

13   A      As far as I know, they never called the police, no.

14   Q      While you were there, did you feel like the environment

15   was a hostile environment?

16   A      At that moment, everybody was very agitated and flurried,

17   but I wasn't in there long enough for -- whatever had happened

18   had occurred before I got to the home.

19   Q      Did you feel like his parents were in danger -- or his

20   grandparents were in danger that day?

21   A      I mean, he was not even up there with them when I spoke

22   with them, so, no.

23   Q      So you didn't feel like there was a need to -- you didn't

24   feel like there was a need to -- that he was violent or that he

25   was putting his family in fear of their life that day?

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                          Cross -- PO Pryor                                 24


1    A      Well, I mean, his grandfather told me he hit him.           I mean,

2    obviously, that was violent, but I told them in that meeting,

3    as I did on numerous occasions, that if they felt that they

4    were in harm, that they needed to contact the police and have

5    Mr. Hill committed.

6    Q      Okay.   Did they do that?

7    A      No, they did not.

8    Q      So did they -- would you conclude that they didn't feel

9    like they were in danger?

10   A      I would have concluded when I left that home that's what

11   they were going to do because that's what they said they were

12   going to do, that they were going to call, but it never

13   occurred.

14   Q      As a supervising officer, do you believe it's your

15   responsibility, if he's putting his family in harm or anybody

16   in the community in harm, to contact the police?

17   A      If I were witnessing him harming them, yes, it would be my

18   job to do that; but going on what they said, it is at that

19   point their responsibility.

20   Q      Do you have others on your caseload who deal with the same

21   type of mental health?

22   A      I have others on my caseload who have mental health

23   issues, whatever degree they may be.

24   Q      But anyone with autism?

25   A      I do not, no.

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                          Cross -- PO Pryor                                     25


1    Q      You say you do not -- I'm sorry?

2    A      I do not, no.

3    Q      Okay.   I apologize.    I didn't hear you.      I apologize for

4    that.

5           And so at this point I think you told us that you haven't

6    really had any training on how to communicate with someone with

7    autism like Mr. Hill?

8    A      No, no specific training to that.

9    Q      So do you believe that you should -- so you have not

10   sought any kind of -- what about resources online?            Have you

11   sought any resources online about how to effectively

12   communicate with someone with autism like Mr. Hill?

13   A      I mean, I have done reading on autism.         I have been around

14   people who are autistic.       They are all different.       Like I said,

15   I have been to basic law enforcement training for autism.              I

16   have spoken with the training coordinator for the Commonwealth

17   Autism since our last hearing.        I have sought lots of

18   information from lots of different places.

19   Q      Okay.

20   A      There is just no one candid answer for that.          There is no

21   book that's written to deal with Mr. Hill and his issues.

22   Q      But do you believe the PSR was written to kind of give you

23   guidelines of how to deal with Mr. Hill and his condition?

24   A      I believe the PSR evaluation was written for an

25   understanding of his mental health diagnosis, yes.

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                          Cross -- PO Pryor                                 26


1    Q      Okay.   And based on your reading of the PSR, do you

2    believe that it kind of gives you a guideline -- kind of a

3    step-by-step guideline of how to deal with him effectively in

4    communicating?

5    A      No, I don't believe it says that.

6    Q      You don't believe that?      Do you believe that it stated

7    that when -- I am just going to read it instead of walking up

8    to you.    It says that -- there is one section on page 14 that

9    says "Conclusions and Recommendations," and in it, it says that

10   that he suffers from autism -- he has Autism Spectrum Disorder,

11   and that there is difficulty -- he has difficulty understanding

12   other people in social interactions which interferes with his

13   ability to establish and maintain relationships.            "Some

14   individuals with Autism Spectrum Disorders have histories of

15   aggressive behavior, particularly in situations where they are

16   emotionally overwhelmed, feel threatened, or do not have the

17   language and social skills to respond more appropriately."

18   A      I read that statement, yes, but I don't feel that that's a

19   guideline as to how to deal with it.

20   Q      You don't?    Okay.   Would you -- well, because you don't

21   feel that way, did you take the opportunity to try to figure

22   out -- knowing that Mr. Hill would have those issues, did

23   you -- have you personally taken the steps necessary to figure

24   out how to deal with the difficult way of trying to have a

25   social interaction with him -- or a nonsocial interaction, I

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                          Cross -- PO Pryor                                  27


1    guess, with him?

2    A      I guess my answer to that would be I have approached the

3    situation knowing all of the information from the presentence

4    report as easily as I could with as much knowledge as I could

5    have at the time.

6    Q      Okay.   And so let's talk about April 28th.        I believe you

7    said you went to his home to advise him about sending documents

8    to the Court per judge's order?

9    A      No.   It was not per judge's order that I went to the home.

10   I was contacted by the clerk's office and the marshals and was

11   told that he was sending documentation electronically via MMS,

12   multimedia messaging, and that they had directed him to stop

13   doing that, but he had not done that.          That's what I was there

14   to address.

15   Q      Have you talked to anyone about multimedia messaging to

16   determine whether it is a way of sending messages Internet

17   base?

18   A      I have spoken to some people about it.         I would not say

19   that I am an expert at all, but my understanding is that it

20   uses an Internet service to send that documentation.

21   Q      So you are saying that text messages as well as -- I'm

22   sorry.    Let me go back.     I apologize.     You are saying that

23   multimedia messaging is a way to send via Internet?

24   A      My understanding is, yes, that it uses an Internet

25   provider to do that, that the cell phone company routes it

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                          Cross -- PO Pryor                                     28


1    through an Internet provider.

2    Q      Okay.    And so let me ask you.     Are you aware that Mr. --

3    the cell phone that Mr. Hill was using does not have Internet

4    service provided on that particular phone?

5    A      That's what he informed me.       It is a prepaid phone.        I

6    have not looked at the second one, but I did see the first one.

7    To my knowledge, it did not have Internet service, no.

8    Q      To your knowledge, have you spoken to his -- well, let me

9    ask.    Have you spoken to his grandmother about whether the cell

10   phone had any Internet service provider on the particular

11   phone?

12   A      They have indicated that it did not.

13   Q      But he was able to -- but you're -- but today you are

14   saying that multimedia messaging is through an Internet

15   protocol?

16   A      I am saying that my understanding of it is that the cell

17   phone company uses an Internet service, not the cell phone

18   itself.

19   Q      Okay.    And this was your first -- let me -- well, let me

20   ask.    Was this your first warning to Mr. Hill of this type of

21   behavior?

22   A      This was the first time we discussed it, yes.

23   Q      Okay.    And you issued a warrant for his arrest immediately

24   upon leaving the residence; correct?

25   A      I did.

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                          Cross -- PO Pryor                                 29


1    Q      Okay.   And there were no steps to give him an opportunity

2    to comply with your order or comply with what you stated?

3    A      The warrant was based on his behavior, not based on the

4    text messaging or multimedia messaging.

5    Q      Okay.

6    A      It was based on his behavior in the home.

7    Q      Okay.   And his behavior in the home, I believe you said

8    that you felt -- well, let me ask you.          You said that you asked

9    him to sit down, and he sat down?

10   A      He did.

11   Q      You asked him to stop walking around, and he stopped

12   walking around?

13   A      I asked him to sit down.      That was the same conversation.

14   Q      Okay.   And help me.    You stated that you asked him to --

15   you said that he violated because he failed to follow your

16   instructions, but when you asked him to do anything, you

17   said -- I believe you said early on in testimony that he

18   complied?

19   A      When I asked -- the calming down was the failure to follow

20   instructions.

21   Q      Okay.   So are you saying he failed to follow your

22   instructions because he called you a jerk?          Is that what you

23   are telling us today?

24   A      Well, I mean, that was part of the aggressive behavior,

25   so, yes.

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                          Cross -- PO Pryor                                     30


1    Q      And that's failing to -- and following your instructions

2    is by someone -- I mean, did you tell him -- I am just trying

3    to understand.      Failing to follow your instructions is by him

4    expressing --

5    A      The continued aggressive behavior.

6    Q      Did you -- okay.     I just want to make sure I understand

7    why you feel that he failed to follow your instruction.                I

8    believe that you also said that you were in fear of your life

9    on that day?

10   A      I felt unsafe.

11   Q      You felt unsafe.     Did he throw something at you?

12   A      He did not throw anything at me, no.

13   Q      Did he jump towards you?

14   A      No.

15   Q      Did he stand up and maybe, you know, bolt toward you and

16   do anything that could have been aggressive to make you feel

17   that he was going strike you in any kind of way?

18   A      He did not come towards me, no.

19   Q      Okay.   And you're saying that you felt unsafe or -- unsafe

20   that day because he called you a jerk?

21   A      No, that's not what I am saying.

22   Q      You said you felt unsafe because he had aggressive --

23   because he was upset about you telling him not to text message?

24   A      It was the continued -- the agitation, the pacing, the

25   throwing things, the name calling.         The combination of all of

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                          Cross -- PO Pryor                                 31


1    it --

2    Q      You said when you asked --

3    A      -- made me feel unsafe.

4    Q      And so you felt unsafe, but you did tell him to stop

5    pacing, and he stopped pacing?

6    A      I asked him to sit down.

7    Q      And he sat down?

8    A      He did but --

9    Q      So he stopped pacing?

10                THE COURT:    Please don't interrupt the witness with a

11   new question until she's finished answering your question.             Are

12   you done?

13                THE WITNESS:    Yes, sir.    I asked him to sit down and

14   he sat down, but he continued hitting things off tables and the

15   name calling.

16   BY MS. PRYOR

17   Q      When you asked him to stop hitting things off the table,

18   did he stop hitting things off the table?

19   A      I left.

20   Q      So you didn't -- okay.      I believe you mentioned something

21   about a Tor mail message, I believe is what you mentioned?

22   A      I believe it is called a Tor account.

23   Q      I have no clue what that is.       I apologize.    But it's a --

24   does it sound like it is an email account?

25   A      My understanding of it, which is very limited, is it's an

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                          Cross -- PO Pryor                                 32


1    anonymous email server that sends whatever you want to send

2    that cannot be traced -- it could be traced, but I am assuming

3    that the providers do not work with law enforcement.

4    Q      Did you investigate whether -- I believe you -- did you

5    investigate whether Mr. Hill sent an email message through Tor,

6    I believe is what you called it?

7    A      No.   I mean, I investigated no further than I could with

8    the information that I had.

9    Q      Okay.   So at this time you cannot state with sufficiency

10   that he used the email to send a message through Tor?

11   A      As I stated earlier, I cannot prove that he did.

12   Q      Just a question about when Mr. Hill was not in compliance.

13   You could have served him with a summons versus a warrant?

14   A      Based on his behavior that day, I didn't feel like that

15   was the safest option.

16   Q      Okay.   But could you have served him with a summons was my

17   question?

18   A      That's always an option, yes.

19   Q      You did know that Mr. Hill suffers from diabetes?

20   A      I do.

21   Q      And you do know that he's insulin dependent, meaning

22   there's three times a day he has to take his insulin?

23   A      I do, and I informed the Courts of that and the marshals.

24   Q      Okay.   And you do remember in the PSR where it stated that

25   it's probably not a good idea to incarcerate him if you don't

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                          Cross -- PO Pryor                                 33


1    have -- if it's -- if it's not necessary due to his health and

2    his mental health issues?

3    A      I don't remember that specifically in there.

4    Q      Okay.   And do you remember whether it stated that he would

5    probably -- not only did he suffer from post-traumatic stress

6    disorder when he was incarcerated the first time, but also he

7    has a tendency to be bullied in prison --

8    A      I did read --

9    Q      -- or in custody?

10   A      I did read that people who have autism -- that that can be

11   a factor, yes.

12   Q      And you said that you recommended that he goes to Piedmont

13   to get treatment services?

14   A      Yes, ma'am.

15   Q      Okay.   Did he comply with that particular order?

16   A      He was going to Piedmont, yes.

17   Q      And he went to -- to your knowledge, he's went to all of

18   his particular treatment except for one, I believe you stated?

19   A      I believe so, yes.

20   Q      And you spoke to his parents about the one that was

21   missed?

22   A      Yes, we did speak about it.

23   Q      Do you remember -- do you recall what -- the reason why he

24   missed that particular appointment?

25   A      I believe they stated that it was because of a

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                           Cross -- PO Pryor                                34


1    transportation issue.

2    Q      Okay.   Does Mr. Hill drive?

3    A      He does not.

4    Q      Okay.

5                 MS. PRYOR:    I have further questions, Your Honor.

6                 THE COURT:    Any redirect?

7                 MR. RAMASWAMY:    Briefly, Your Honor.

8                              REDIRECT EXAMINATION

9    BY MR. RAMASWAMY

10   Q      In your -- in the petition under general adjustment under

11   supervision, you make the statement that Mr. Hill -- his

12   initial supervision history has been challenging based on

13   numerous mental and physical health conditions present.

14          This incident on April 28th of this year, was that -- has

15   that been the only incident of its type or has it been an

16   incident to just a degree within the same type?

17   A      As far as the hitting of things and the name calling,

18   that's the first, but every interaction -- because Mr. Hill

19   believes that he's been set up in this case, and he's very

20   adamant about that, every interaction is difficult because I am

21   trying to get him to comply with conditions from the Court, and

22   he doesn't think he should have to.         He will always say that he

23   will comply ultimately, but it's always a struggle.

24   Q      Following up on that, your statement -- I want to ask you

25   about that statement:       He doesn't think he has to comply with

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                        Redirect -- PO Burton                                35


1    the conditions.      Is that the conditions of his supervised

2    release?

3    A      It is.    He predominantly has issues with the sex offender

4    treatment piece of it.       He has gone to those appointments, and

5    I am not saying that, but there is a lot of pushback from any

6    of that stuff.      When I addressed the psychiatrist meeting that

7    was canceled with Mr. Hill, it was that he didn't think he

8    needed it.      The transportation issue came up at a later date

9    when I spoke with the family.        So he thinks that and has

10   expressed to me that he believes I am overstepping my bounds to

11   be involved with any of that.

12                MR. RAMASWAMY:    No other questions.

13                THE COURT:    Let me ask you, ma'am, the telephone that

14   you said the Defendant was using, whose phone was he using?

15                THE WITNESS:    My understanding is it's his

16   grandmother's.

17                THE COURT:    Did you say that there was -- there were

18   images of child pornography on the phone?

19                THE WITNESS:    The first phone that he had, he

20   indicated he got an email -- or a text message that had child

21   pornography on it.

22                THE COURT:    The first phone he had on supervision?

23                THE WITNESS:    On supervision.     That was also his

24   grandmother's.      He stated he used it for legal purposes, and

25   that someone had sent him child pornography.           He knew it was

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                      Redirect -- PO Burton                                 36


1    child pornography because he had accidentally looked at it.            He

2    turned the phone over to me within a couple of days.          I have

3    not looked at the phone because I don't want to destroy any of

4    the evidence that's on it.

5                THE COURT:   How would the child pornography be on

6    that original phone?

7                THE WITNESS:   He indicated that somebody sent it to

8    him in an attachment in a text message or a multimedia message.

9                THE COURT:   Do you know who it came from?

10               THE WITNESS:   I believe it was another Tor-type

11   account is my understanding.

12               THE COURT:   When was that?

13               THE WITNESS:   Hold on one second, I will give you a

14   date.    I seized the phone March 9 of 2015.

15               THE COURT:   Is this a prepaid phone?

16               THE WITNESS:   It is, yes, sir.

17               THE COURT:   Do you have any idea how somebody with a

18   prepaid phone would anonymously receive child pornography?

19               THE WITNESS:   I do not, no.

20               THE COURT:   Does the Defendant have a computer?

21               THE WITNESS:   He does have a computer, but it does

22   not have access to the Internet.

23               THE COURT:   You said there are other computers in the

24   house?

25               THE WITNESS:   I believe his mother has a laptop, but

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                        Redirect -- PO Burton                               37


1    I don't know that for sure.

2                 THE COURT:    Does it have Internet access?

3                 THE WITNESS:    My understanding is that it does

4    because she has a YouTube channel that I have seen.

5                 THE COURT:    Do you know whether or not the Defendant

6    has used the mother's computer to send any documents?

7                 THE WITNESS:    I do not.    I have not had any access to

8    that.    Also to answer your prior question, Ms. Hill also sends

9    me emails on Brian's behalf.        So something has to have access

10   to the Internet.

11                THE COURT:    Does anybody have any questions limited

12   to just my examination.       Mr. Ramaswamy?

13   BY MR. RAMASWAMY

14   Q      Ms. Burton, do you know whether or not there is wireless

15   Internet access within the home?

16   A      I do not, no.

17   Q      For instance, Mr. Hill's mother's computer, do you know if

18   it has a wired connection?

19   A      I do not know.     I have never been in her apartment, so I

20   can't say.

21   Q      Is Mr. Hill's computer a laptop or a desktop?

22   A      It's a laptop.

23                MR. RAMASWAMY:    No other questions.

24                MS. PRYOR:    I just have one question.

25                              RECROSS-EXAMINATION

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                         Recross -- PO Burton                               38


1    BY MS. PRYOR

2    Q      When you stated that he turned over the phone to you, did

3    he voluntarily do that?

4    A      Yes, ma'am.

5    Q      You didn't ask him any questions about it?         He just

6    voluntarily contacted you or how -- I'm sorry.           Help me

7    understand.     How did you get the phone?

8    A      He did contact me to indicate -- we'd had a previous

9    incident where information -- I was told by the family and him

10   that the Mayodan Police Department had returned evidence to

11   them that contained child pornography.          When I asked to see

12   that, they indicated it had been destroyed.           During that time,

13   I indicated that if this ever happens again or anything like

14   that ever happens to let me know.         So he contacted me after

15   receiving that email -- or text message, sorry, whatever it

16   was, and he turned it over to me within a couple of days.

17   Q      So he voluntarily did it?

18   A      Yes.

19                 MS. PRYOR:   Thank you.    No further questions, Your

20   Honor.

21                 THE COURT:   You may step down thank you.       Any further

22   evidence from the Government?

23                 MR. RAMASWAMY:   No, Your Honor.

24                 THE COURT:   I am going to take a break in just a

25   moment.    Do you have any evidence that you want to put on?

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                       Recross -- PO Burton                               39


1               MS. PRYOR:    Yes, Your Honor, I have two witnesses,

2    Your Honor.

3               THE COURT:    Do you know how long you intend to have

4    them take?

5               MS. PRYOR:    Your Honor, definitely way less than

6    that, Your Honor.    Maybe half of that.

7               THE COURT:    Okay.   We are going to take a break for

8    15 minutes, and then we'll come back.        After you put your

9    witnesses on, one of the things I am going to ask you,

10   Ms. Pryor, is I have a slew of pro se things that your client

11   has filed.

12              MS. PRYOR:    Yes, Your Honor.

13              THE COURT:    I want to understand whether or not he is

14   intending to proceed on any of those or not.

15              MS. PRYOR:    Yes, Your Honor.

16              THE COURT:    So if you would have a discussion with

17   him --

18              MS. PRYOR:    I will.   I will talk to him right now.

19              THE COURT:    -- and I would like to have you address

20   that issue.   We'll take a break for 15 minutes.

21        (The Court recessed at 3:37 p.m.)

22        (The Court was called back to order at 3:54 p.m.)

23        (The Defendant was present.)

24              THE COURT:    Ms. Pryor, do you want to call your first

25   witness, please?

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                       Direct -- Roberta Hill                               40


1                 MS. PRYOR:    Yes, Your Honor.     I call Ms. Hill to the

2    stand.

3    ROBERTA HILL, DEFENDANT'S WITNESS, at 3:54 p.m., being first

4    duly sworn, testified as follows:

5                               DIRECT EXAMINATION

6    BY MS. PRYOR

7    Q      Can you give us your name and where you live.

8    A      I'm Roberta Hill.     I live at 916 Chalmers Street,

9    Apartment B, Martinsville.

10   Q      Thank you.    And I want to go back a little bit to some

11   history of who Mr. Hill is.        Can you tell me the first year

12   that you recognized that Mr. Hill might have had some

13   developmental problems?

14   A      It was whenever he was two years old.        He had problems

15   with -- like whenever I would call him, call his name, he

16   wouldn't respond.      I would keep asking -- you know, calling his

17   name.    He didn't appear to know what was going on.          I got

18   him -- a developmental test done, and he had PDD-NOS, which is

19   Pervasive Developmental Disorder, Not Otherwise Specified.

20   Q      Okay.   And when did you first find out that he had autism?

21   A      He was four years old.      His -- he was going to a special

22   preschool program, and his teacher kept saying that his

23   behavior was autistic like.        So she made an appointment for

24   TEACCH to do the test to see if he had autism.

25   Q      Okay.   And what was the result of that?

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                       Direct -- Roberta Hill                                  41


1    A      Yes, he did have autism, mild autism.

2    Q      And have you been his care -- I believe he is now 25.

3    Have you been his caretaker all of his life?

4    A      I have.

5    Q      Has he been able to work throughout his life?

6    A      No, he hasn't.

7    Q      When I say "caretaker," does that mean that you cook his

8    meals?

9    A      Yes, I do.

10   Q      I believe he has diabetes; correct?

11   A      Yes.

12   Q      And so have you been the primary person to help him with

13   the insulin and how to effectively take his insulin?

14   A      Yes, I have.    I did his shots for 14 years, checked blood

15   sugars, and I still do check his blood sugar.           I have to check

16   it every morning when he is sleeping because that's when he

17   tends to have a lot of low blood sugar problems.            Then I have

18   to treat it.     Sometimes it can be 20s, and I have to feed him

19   ice while he is asleep to try to bring it up and then retest

20   his blood sugar to make sure that it has gone up.

21   Q      Okay.   And have you worked throughout this -- I believe

22   you said you have been taking care of him for 25 years.                Have

23   you worked throughout the 25 years?

24   A      No, I have not.     I did a few odd jobs at certain periods

25   during that time and found that I was unable to.            The school

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                       Direct -- Roberta Hill                               42


1    kept calling me to come and assist him.          They only had a nurse

2    available one day per week.        So a lot of times I would have to

3    go to the school and give him shots.

4    Q      Okay.   And has he -- have you been able to have any other

5    assistance with helping Mr. Hill?

6    A      At certain periods, whenever he was younger, I was able to

7    get on respite programs that helped out, you know, maybe just a

8    few hours a week, like four hours, maybe five hours a week,

9    certain programs, but not a whole lot, no.

10   Q      Okay.   I understand.     And so now I just want to talk about

11   the Internet access in your home.         Do you guys have Wi-Fi in

12   the home?

13   A      Yes, we do.

14   Q      Okay.   And how -- and is Mr. Hill able to access the

15   Wi-Fi?

16   A      No, he is not.    He has a desktop computer, and we got the

17   chip removed from the computer that allowed Wi-Fi access; and

18   we showed it to his probation officer that the chip was

19   removed.

20   Q      Okay.   And also I believe they said that you have also a

21   computer; correct?

22   A      Yes, I have a laptop computer, but it is password

23   protected.

24   Q      Okay.   And does Brian know that password, or have you

25   shared that password with him?

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                        Direct -- Roberta Hill                              43


1    A      No.

2    Q      And so you do understand all of the conditions that the

3    judge ordered based on him coming home?

4    A      Yes.    I've read through all of the conditions.

5    Q      Okay.    And you've done what you could to help to make sure

6    that he complied with those conditions?

7    A      Right.    We removed the chip from his computer so he has no

8    Wi-Fi access.      There is no Wi-Fi access from his apartment, and

9    my and my parent's computers are password protected.

10   Q      Okay.    I believe they said that he has a phone that he's

11   able to use.      On that phone, does he have access to Wi-Fi on

12   that phone?

13   A      No.    It's strictly used for texting.      There is no Internet

14   access on that.

15   Q      And were you present the day that Miss -- Officer Burton

16   came to the home that day?

17   A      I was.

18   Q      Okay.    And do you remember Mr. -- do you remember the

19   basic dialogue that day?

20                 THE COURT:   Are we talking about April the 28th?

21                 MS. PRYOR:   Yes, sir, I apologize, April 28th.

22                 THE WITNESS:   Yes, I do.     She informed him that he

23   was no longer able to text.        I don't remember her mentioning

24   anything about multimedia, but she did inform him that he

25   should no longer be texting, that he was not allowed to text

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                       Direct -- Roberta Hill                                  44


1    the Court, and he told her that, yeah, he had already been told

2    that by the Court, not to text, so he was no longer doing any

3    of that.

4                 He was -- he asked if he was able to text his

5    friends.     She said no.    He asked if he was able to text his

6    attorney, and she said no, which we're just talking about

7    regular texting.      There was no Internet usage on the phone.           It

8    was just regular texting and texting is a completely separate

9    system than the Internet.

10   BY MS. PRYOR

11   Q      Okay.   And just to help the Court understand communication

12   with Mr. Hill -- we do all know that he definitely suffers from

13   autism.    When you are telling him that he cannot do something

14   of that nature, have you guys set up a plan or have you guys

15   understood or have a way that you guys speak to him about

16   things of that nature?

17   A      Yeah, you can't make a sudden change with an autistic

18   person.    That does not work out very well.        It has to be a

19   gradual change.      Any change in routine will get an autistic

20   person upset.     You are going to get behavior problems.          Once

21   behavior escalates, you cannot communicate with an autistic

22   person.    They will not understand what you are saying.           You

23   have to -- you have to kind of give them time to process the

24   information.     So that means kind of walk away a minute, give

25   them time to process it.       Make sure he is nice and calm before

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                       Direct -- Roberta Hill                                  45


1    you attempt to explain it again.         If behavior escalates again,

2    then you are not going to get anywhere.          Communication is not

3    going to happen.      Again, you have to give time for the

4    processing to begin.

5           I don't know how better to explain it.         It's not ignoring.

6    It's not saying, well, Brian is going to get his way.            No.   It

7    is saying that you just need to allow plenty of processing

8    time.    If you have to bring on a change, it has to be slowly.

9    You can't do it quickly.       That will never work.

10   Q      And this information that you are talking about is this

11   because of treatment that he's had over the years?

12   A      Yeah, I've learned a lot of stuff through TEACCH.           They

13   helped me to learn.      I went to several seminars to learn about

14   autism, and, you know, I've read a lot over the years, too; but

15   learning Brian, being around him for all these years, I have

16   learned a lot on my own, too.        I've learned tricks and ways to

17   deal with bringing about changes like that.           That's why I say

18   this is from years of learning.

19   Q      Okay.   And on the date of April 28th, when Brian got

20   agitated, would you state that you felt in fear of your life

21   that day?

22   A      No, I did not.    He did attempt to walk away to get calm

23   again.    He wanted to give himself a shot because he had just

24   ate and he knew -- he was aware that his blood sugar was going

25   up.    We would allow that.      He needs time to calm down, get his

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                       Direct -- Roberta Hill                                 46


1    thoughts together, and he needs time to process that, but she

2    would not allow that.       She brought him back, you know.        He was

3    trying to walk out so that he could go do his shot and get

4    himself calm.     She brought him back; therefore, he had no time

5    to process what was going on.        His blood sugar was high.         So,

6    again, that just aggravated the problem.          It's like pouring gas

7    on a fire.

8    Q      Okay.   And once Officer Burton left, did Mr. Hill calm

9    down?

10   A      Yes, he did.    We gave him time to calm down, and once he

11   calmed down, he was apologetic.         He could start thinking again.

12   You could communicate with him.

13   Q      Did he apologize to Officer Burton?

14   A      Yes, he did.

15   Q      Did he do that by phone or email -- I mean, not email, by

16   letter?    I'm sorry.

17   A      He made some phone calls and apologized, and I emailed on

18   my computer an apology to her as well.          Later on, I believe he

19   might have faxed her, too, but, yes, he did make apologies.

20   Q      Okay.

21                MS. PRYOR:    I have no further questions, Your Honor.

22                THE COURT:    Any cross?

23                MR. RAMASWAMY:    Yes, sir.

24                               CROSS-EXAMINATION

25

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                        Cross -- Roberta Hill                                47


1    BY MR. RAMASWAMY

2    Q      Ms. Hill, your son has filed -- do you know whether or not

3    he's filed pro se pleadings on his own behalf in his matter?

4    A      Yes, he has filed several pro se motions.         Even for the

5    last month that he's been in jail, he has done several pro se

6    motions.     That has nothing to do with me.       Those are his own

7    decisions.     His attorney -- two attorneys have told him not to.

8    He is still doing that.

9    Q      Have you ever read any of those?

10   A      I read them after they get put on PACER.

11   Q      Have you seen, not the most recent ones, but the ones

12   prior to that on the signature block end with an email address

13   admin@uswgo?

14   A      No, I haven't seen anything like that.

15   Q      You haven't seen that that email address is included in

16   ECF filings?

17   A      I don't recall seeing any emails, no.

18   Q      That's your son's email address, or was prior to his

19   conviction for this offense, wasn't it?

20   A      The one for uswgo, but he's not -- he can't -- there is no

21   way he can get into his email account.

22   Q      Is there any limitation between your son's access to his

23   own living area, his own apartment, and your own or his

24   grandparents'?

25   A      Can you repeat the question?

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                        Cross -- Roberta Hill                               48


1    Q      Can your son get to your living area, your apartment?

2    A      Yes.

3    Q      Do you know whether or not his grandparents have a

4    computer?

5    A      They do, but they're all password protected.

6    Q      You don't know whether or not your son has a way to evade

7    or avoid the password protection, do you?

8    A      No.    There is no way he would be getting on our computers.

9    Q      When you say "there is no way," haven't you previously, to

10   the probation officer who did the presentence report interview,

11   described your son as a computer genius?

12   A      Well, he is pretty good with computers, but I don't see

13   how he would be able to get into our -- I mean, break the

14   password without being on some type of Internet connection.            I

15   mean, I don't see how he could get that Internet connection

16   before trying to attempt a password break.

17   Q      Do you remember making the statement that your son is a

18   computer genius?

19   A      Yes, he does very well with computers.         I don't see how he

20   could get into our passwords without Internet access.

21   Q      Was there an incident in which he struck his grandfather?

22   A      Yeah, his grandfather put his hand on his shoulder, and

23   there was a reflex thing where he just kind of, you know,

24   struck back, reflex thing, and it didn't really hurt his

25   grandfather.

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                        Cross -- Roberta Hill                                 49


1    Q      And were there incidents in the past where he assaulted

2    you?

3    A      No.

4    Q      Now, you've actually written a book about raising your

5    son, haven't you?

6    A      Yes, I have.

7    Q      And in that book, you state that he was diagnosed with

8    what is called Intermittent Explosive Disorder, haven't you?

9    A      Yes, he is.

10   Q      And you also describe your book and the incidents

11   involving your son in a YouTube video, don't you?

12   A      Yes.

13   Q      In that YouTube video, don't you describe how your son in

14   past occasions assaulted you?

15   A      When he was little, he used to hit.        He used to pull hair.

16   I would -- that was a very long time ago.          I mean, that -- I

17   think every kid has done stuff like that.          I wouldn't consider

18   it to be assault.      I've never had to go to the hospital.           I've

19   never been injured.

20   Q      Well, you describe them as tantrums, don't you?

21   A      Right, tantrums.

22   Q      And you said in some cases he would turn bookcases over?

23   A      Yes.

24   Q      And he would hit and bite you?

25   A      Yes.   This was whenever he was probably about five years

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                        Cross -- Roberta Hill                               50


1    old.

2    Q      Well, the most recent video in which you described these

3    is just from last December; correct?

4    A      Right.

5    Q      And you said that they have -- the tantrums have decreased

6    with age, but they are rare now?

7    A      Yes.

8    Q      So they still occur now, don't they?

9    A      Yes, every once in a while, not at the same intensity as

10   whenever he was younger.       We're talking little tiny tantrums

11   now.

12   Q      So there are incidents in which your son has tantrums and

13   can't control his behavior?

14   A      They're really -- they are so tiny compared to where he

15   has been that I don't really consider it to be that much of a

16   problem.

17   Q      When Ms. Burton was -- the incident from -- I'm sorry,

18   April 28th, you were present?

19   A      Uh-huh.

20   Q      And was it your statement that Ms. Burton didn't give your

21   son enough time to process information?

22   A      Yes.

23   Q      And that led to his lack of compliance or his anger?

24   A      Well, he has trouble processing sudden changes like that.

25   That's a part of his autism.

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                         Cross -- Roberta Hill                                51


1    Q      Was he hitting things off of tables in front of her?

2    A      Yes.

3    Q      Did he raise his voice to her?

4    A      Well, yeah.

5    Q      Did he swear at her?

6    A      Yeah.   In no way was that putting anybody in danger.

7    Q      Well, that's in your opinion; correct?

8    A      Yes, it is.

9                  MR. RAMASWAMY:   No further questions.

10                 THE COURT:   Anything further?

11                 MS. PRYOR:   Nothing further, Your Honor.

12                 THE COURT:   All right.    Thank you, ma'am.     You may

13   step down.

14                 MS. PRYOR:   I just have one more, Your Honor, his

15   grandfather.

16   KENNETH FORINASH, DEFENDANT'S WITNESS, at 4:12 p.m., being

17   first duly sworn, testified as follows:

18                              DIRECT EXAMINATION

19   BY MS. PRYOR

20   Q      Can you state your name and your address for the Court.

21   A      My name is Kenneth Forinash.       My address is 916 Chalmers

22   Street, Martinsville, Virginia, Apartment A.

23   Q      Thank you.    Mr. Hill is your grandson; correct?

24   A      Yes.

25   Q      And you -- and I believe you live in the same building

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                      Direct -- Kenneth Forinash                            52


1    with Mr. Hill?

2    A      Yes.

3    Q      And I believe you stay upstairs, and he stays downstairs?

4    A      Right.

5    Q      Okay.    And so you have a lot of interaction with Mr. Hill?

6    A      Yes.

7    Q      Okay.    And how long have you guys been staying in this

8    type of situation where he stays downstairs and you stay

9    upstairs?

10   A      Since August of 2013, I believe.

11   Q      Okay.    So about two years almost?

12   A      Yeah.

13   Q      Okay.    Before that, where were you staying?

14   A      They lived in Mayodan, North Carolina, at the time.

15   Q      Okay.

16   A      We lived in Martinsville.

17   Q      But you would visit all the time?

18   A      Oh, yeah.

19   Q      Okay.    And they mentioned an occasion, I believe it was

20   actually probably the same day on April 28th, that Mr. Hill

21   struck you?

22   A      No, it was prior to that.

23   Q      I apologize.    Prior to that.     Okay.

24   A      We were all upset about something, and Brian was pacing

25   back and forth, and he was -- kept getting louder, and I stood

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                     Direct -- Kenneth Forinash                                  53


1    up and put my hand on his shoulder to try to calm him down, and

2    his reflex action was that he turned around and hit me.                It

3    didn't hurt.     And a few minutes later, we all apologized and

4    everything was okay.

5    Q      On that occasion, I believe Officer Burton also came by

6    that day when this happened?

7    A      Yes.

8    Q      Did you guys explain that to her as well?

9    A      Yes.

10   Q      And did you feel like you were in fear of your life that

11   day?

12   A      No.

13   Q      Okay.   Did you feel like Mr. Hill was a danger to himself

14   that day?

15   A      No.

16   Q      Okay.   Did you feel like he was a danger to his mom that

17   day?

18   A      No.

19   Q      Okay.   His grandmother that day?

20   A      No.

21   Q      Okay.   And you were also present on April 28th; correct?

22   A      Yes.

23   Q      Okay.   And on that day, I believe you answered the door?

24   A      Yes, I did.

25   Q      Okay.   And Mr. Hill was -- and you had an opportunity to

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                     Direct -- Kenneth Forinash                             54


1    hear the conversation between Mr. Hill and Officer Burton?

2    A      Yes.

3    Q      And so you did see where Mr. Hill began to get agitated?

4    A      Yes, I did.

5    Q      Did you feel like you were in fear of your life when he

6    got agitated?

7    A      No.

8    Q      Did you see him throw anything at Officer Burton?

9    A      No.

10   Q      Did you see him charge at Officer Burton that day?

11   A      No.

12   Q      Did Mr. Hill -- I believe they said he was pacing back and

13   forth; is that correct?

14   A      Yes.

15   Q      Did Officer Burton ask him to sit down?

16   A      Yes.

17   Q      And he complied?

18   A      Right, yes.

19   Q      Was there any lack in his compliance that day?          Everything

20   that she asked him to do, did he do that day?

21   A      He did it right away.

22                 MS. PRYOR:   I have no further questions, Your Honor.

23                 THE COURT:   Any cross?

24                 MR. RAMASWAMY:   No, sir.

25                 THE COURT:   All right.    Thank you.    You may step

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                                                                          55


1    down.

2               Any further evidence from the Defendant?

3               MS. PRYOR:    No, Your Honor.     Just like to be heard at

4    the appropriate time, Your Honor.

5               THE COURT:    Mr. Ramaswamy, I'll start with you.

6               MR. RAMASWAMY:    Your Honor, there are a few key

7    things I want to address but, in particular, Ms. Burton's

8    statement.    In dealing with Mr. Hill, every interaction is

9    difficult.    He doesn't think he has to comply with his

10   conditions.    He doesn't think he needs it, that there is a

11   general, I would say over time, of Mr. Hill's belief -- despite

12   his guilty plea, despite in the presentence report his written

13   statement admitting responsibility, that he wants to now undo

14   the conditions that are upon him.

15              While it may seem minor, the incident with the

16   probation officer on April 28th, 2015, in terms of a violation,

17   I would say it is pretty basic.       In the introduction in Chapter

18   7 to the supervised release violation section of the

19   guidelines, there is a discussion about the Sentencing

20   Commission's approach to supervised release violations, whether

21   they are going to take the breach-of-trust theory or the

22   new-conduct theory; and, ultimately, they take the

23   breach-of-trust theory.

24              The conduct that the Court has heard, I would

25   contend, goes to the breach-of-trust theory.         It would appear

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1    that in a sense the probation officer is being blamed for her

2    lack of understanding of Mr. Hill's condition.

3               THE COURT:    I am not going to put the probation

4    officer on trial for whether or not she properly or improperly

5    prepared for this meeting.      I am not going to do that.       So if

6    that's a concern -- I will hear about whether you can explain

7    the Defendant's conduct because of that, but this is not the

8    probation officer being put on trial here, and we are not going

9    there.

10              MR. RAMASWAMY:    All right, sir.

11              I would recognize, and I think from the beginning of

12   this case the Government has recognized, that the conditions of

13   Mr. Hill, as outlined in the presentence report, leading to the

14   disposition, that he did receive under the -- as accepted by

15   the Court, an effectively

16   time-served-followed-by-supervised-release sentence.

17              But I would note, not to go through any more of his

18   pro se filings than this, in Document 105, and that was filed

19   on June 5th following his arrest on the petition, Mr. Hill goes

20   through several things he's promising -- he is going to promise

21   to do, change his behavior -- it's entitled "Promise of Change

22   Following Reinstatement of Supervised Release," and he is going

23   to agree to notify his probation officer when he's, for

24   instance, angry or his blood sugar is low.

25              Mr. Hill isn't under -- it's not contractual, his

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1    conditions on pretrial release.       It's part of his judgment that

2    he is under.    The contractual part was part of the plea

3    agreement, and that part is over, but I think it goes to that

4    same thing.    He feels -- Mr. Hill feels he doesn't have to

5    comply with these conditions and is selectively following them.

6    I would also note, not on this filing, but in many of the prior

7    pro se filings, they end with an email address and --

8               THE COURT:    What's the most recent one that does

9    that?

10              MR. RAMASWAMY:    I don't have -- I apologize to the

11   Court.   I don't have all the pro se filings here, but in the

12   ones prior to his arrest on the petition for the supervised

13   release violation, in the signature block in the certificate of

14   service, you will see an email address accompanying his name

15   and address.

16              THE COURT:    When was he arrested?      Was it in May?   I

17   have he was detained May 27th; is that right?

18              MR. RAMASWAMY:    I believe that is correct, Your

19   Honor.

20              I don't believe there is sufficient -- I don't want

21   to rely that heavily -- and I understand the Court's

22   instruction as the inquiring as to email access.          I don't wish

23   to rely on that so much from the violation.         I do think it

24   would only be an inference as to email access.         I do think --

25              THE COURT:    Is there evidence he is using the

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1    Internet?

2                MR. RAMASWAMY:   No, sir, I don't think there is

3    evidence he is using the Internet.        There is only an inference

4    that he's found a way to access the ECF filing system by using

5    a prepaid cellular phone.

6                THE COURT:   How do you do that without getting on the

7    Internet?

8                MR. RAMASWAMY:   I can tell the Court -- I can tell

9    the Court, but it is only my own knowledge, how that might be

10   done, but there is actually more than one way it can be done.

11   It might be done from a cell phone.        It might be done through a

12   portal that's referenced in there, MyPix messages portal, on a

13   regular computer where it appears to be coming from that cell

14   phone number, but there is no evidence as to which way --

15               THE COURT:   Wouldn't the Defendant still have to have

16   some way to get on the Internet eventually?

17               MR. RAMASWAMY:   Yes, sir.

18               THE COURT:   Is there any indication that the filings

19   that he's made with the Court were emailed in some fashion via

20   a way that did not use the Internet?

21               MR. RAMASWAMY:   I don't think there is evidence of

22   that.   I think there is evidence that in the particular message

23   sent from the phone, as what would appear to be an email

24   message to the District Court, that there were several people

25   carbon-copied on that, but that doesn't -- I don't know that it

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1    gets into proof that that's access to the Internet.          It's a

2    means of inter -- interactive electronic communication, but I

3    don't know that that's the focus of what the Government is

4    arguing here.   It is that Mr. Hill has decided to evade and

5    avoid certain conditions or has presented a safety issue to his

6    probation officer.

7               THE COURT:    So let me -- the safety issue I

8    understand.   Beyond that safety issue, what else is it that you

9    are contending is a violation or a problem?         You said "avoid"

10   or "evade."   What are you talking about?

11              MR. RAMASWAMY:    When the probation officer talks

12   about her interactions -- this home situation -- in an ordinary

13   situation, I would say -- I am going to phrase this in a way

14   where I am not appearing to ask for the officer's authority to

15   search other people's computers, but what she described as

16   supportive but co-dependent and placating the Defendant.

17              The Defendant -- the conditions upon him -- and I

18   think you can see from the testimony of his mother and

19   grandfather, some minimizing as to his conduct here.          The

20   persons he's living with are minimizing, and that the

21   conditions of computer usage --

22              THE COURT:    Well, what I am hearing is that they are

23   trying to explain that he's autistic and that you have to deal

24   with somebody who is autistic a little differently and that

25   they, from time to time, may do things that an ordinary person

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1    would not do.   Whether that's what you are talking about in

2    terms of minimizing or whether you are talking about something

3    else, I don't know.

4               MR. RAMASWAMY:    I think that's fair to say, and I

5    wouldn't expect in a family situation really that would be

6    different, but I don't know how that can be squared with the

7    probation officer's responsibility to do her supervision.

8               THE COURT:    I understand.    All right.    Anything

9    further?

10              MR. RAMASWAMY:    No, sir.

11              THE COURT:    Thank you.    Ms. Pryor?

12              MS. PRYOR:    Yes, thank you, Your Honor.

13              Your Honor, I've had the opportunity -- I know you

14   asked about the access to Internet by MMS or SMS.          I've

15   actually had the opportunity to speak to someone who is

16   actually a specialist and an expert dealing with the Internet

17   and how the cell phones and all that work.        I explained to him

18   exactly what Mr. Hill was doing.       I contacted the clerk to find

19   out how did she receive it so that I could accurately tell --

20   and let me get his name for you, Your Honor -- so I could

21   accurately tell him what was being stated and what was being

22   used.

23              Mr -- and I apologize.      Let me get his name for you.

24   That would be Mr. Levitan.      He's with the wireless, cellular,

25   telecommunication consulting and expert witness services.            He

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1    does, of course, testimony in federal cases of this nature

2    regarding whether it was an MMS or SMS or whether it was

3    Internet based, especially when it deals with child

4    pornography.

5                He explained to me over and over again that no way

6    does MMS or text messaging have anything to do with the

7    Internet.   In no way, can they have -- can you even -- I mean,

8    it does not contract [sic] your Internet.        It does not even --

9    there's no need to use the Internet to do those type.          Text

10   messaging, MMS, the only difference is the size of the actual

11   thing that you are sending.

12               THE COURT:   So how does he have a cell phone that

13   receives an image of child pornography through a Tor account?

14               MS. PRYOR:   Your Honor, that is a question, I

15   apologize, I did not ask Mr. Levitan.        I am going to assume, as

16   the Government has said, based on my personal knowledge, that

17   you can send to a phone number -- if you know the person's

18   phone number -- in the way that our cell phones, I guess, or

19   smartphones work today, if you have a smartphone, you're able

20   to text -- put that number in, and you are able to send a

21   message to them by -- via an email or via a fax or via, you

22   know --

23               THE COURT:   I guess my question is -- it sounds

24   highly unlikely that somebody who has a prepaid cell phone

25   would anonymously receive unsolicited child pornography.

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1               MS. PRYOR:    Your Honor --

2               THE COURT:    Somehow somebody knew to contact that

3    phone.

4               MS. PRYOR:    I truly understand that, Your Honor, and

5    I believe that probation has that particular cell phone.             Your

6    Honor, I would love to have that evaluated.         I don't think that

7    Mr. Hill would have any problem with making sure that you

8    understood or making sure that he was able to prove -- as you

9    note, he's been working to prove his innocence of all of this.

10   So I am sure --

11              THE COURT:    I don't know what you mean that.        He's

12   admitted guilt as to the underlying offense; right?

13              MS. PRYOR:    I understand that.     I believe that, Your

14   Honor, that he is working with another attorney, I guess, to

15   appeal or to -- and, Your Honor, I am not working on that

16   particular matter or that case; but based on my experience with

17   him and my talking with him, it is his desire to prove his

18   innocence of that particular matter.       I believe you've seen, of

19   course, all of the pro se documents filed in this matter

20   regarding that.

21              But just to get to your answer, and what I believe

22   and based on my interaction, the moment that he saw it come --

23   you know, he opened up the text message, he's told me he

24   immediately let Ms. Burton know that it had happened.

25              I mean, to him, and what he's explained to me, is

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1    that he believes that's another way of showing that someone is

2    obviously -- or believes -- or allegedly is setting him up and

3    wants him to be in trouble about child pornography.

4                THE COURT:   It seems highly unlikely that people

5    would be able to find a phone number for a prepaid telephone

6    whether to set somebody up, as he says, or to anonymously send

7    child pornography.    It seems more likely that somehow there is

8    a communication with somebody, who then responded and sent

9    child pornography back.

10               So what concerns me is his use of a cell phone for

11   the receipt of child pornography when he's already been using

12   the Internet to receive child pornography.        So that's my main

13   concern about the cell phone.

14               MS. PRYOR:   Yes.   I truly understand that, Your

15   Honor.    I believe that he does not have that particular cell

16   phone anymore.    His family does not -- he has to ask permission

17   to receive the phone.     I think they have been very good about

18   making sure that he complies with any order that the judge

19   states.

20               The only -- I think the only issue, as you heard on

21   the stand from his mom, is that I explained to him he can't

22   send any more letters to the Court, that he needs to use his

23   attorney on that basis, but I think they have been very good

24   about making sure that Ms. Burton -- Officer Burton, I

25   apologize, Officer Burton, if she wanted to come in the home --

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1    I heard her say that she cannot search their computer.           I don't

2    believe that they've ever -- I believe they will volunteer, you

3    know, for her to be able to come in and search the computer,

4    whatever she would need, and I am sure they would open up their

5    house.   They want Brian to be compliant with everything that

6    the Court has ordered.

7               THE COURT:    All right.    Anything further?

8               MS. PRYOR:    Yes, Your Honor.     I would only state,

9    Your Honor -- based on what you've heard today, Your Honor, I

10   would state that there in my -- not -- I apologize.          I would

11   state that there was no violation.       I do not believe that --

12   based on who Mr. Hill is, based on his mental health, his

13   physical health, and the things that I've had the opportunity

14   to interact with him, I do not believe -- and, you know -- and

15   based on mom's testimony, that Mr. Hill in any way violated

16   Officer Burton's instructions or order.        Ms. Burton asked him

17   to sit down, asked him to comply.       He complied with everything

18   that she asked.

19              Being who he is and the disability that he does have,

20   there are things that you must do and ways that you must

21   interact with him.    My first interaction with him -- and you

22   can look at him, and no disrespect at all to Mr. Hill, Your

23   Honor.   He, of course, stands and he looks to be 25.         He has

24   the hair and everything that it takes, but I knew immediately

25   that I could not have the same conversation about a supervisory

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1    hearing as I would a 25-year-old who also violated or did

2    something of the same nature.

3               He is just not the type of person that could

4    understand or be in a position to -- and I am asking the Court

5    not to hold him to the standard of a regular 25-year-old today

6    in that I believe that he was not -- that he did not violate

7    her instructions.    And when he did have the opportunity to calm

8    down, he understood -- not only did he write it to the Court to

9    apologize to Officer Burton, he also apologized to her by fax,

10   I believe, as well as by phone.

11              I would ask the Court to consider -- being that his

12   mom and his family has provided a safe environment for him, I

13   would ask the Court to not hold him -- to not revoke his

14   supervisory release, but to allow him to return to his home, to

15   also continue his treatment that he definitely so much needs.

16   I believe we heard that he missed only one treatment.          Although

17   he might not believe that he needs it, his mom was still making

18   sure that he went to the treatment.       He missed one only because

19   of transportation matters, but he's made every appointment.

20   They've done everything -- his mom makes sure that he goes to

21   everything that is ordered by the Court.        So I believe he has a

22   great supervisor and a great environment to stay in.

23              Your Honor, if you wanted to place him on home

24   detention, I don't believe there is any other purpose for him

25   to leave home but for the purpose of going to his meetings,

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1    going to things like that, and I understand, Your Honor, also

2    if there has to be an order in -- to -- from you regarding his

3    mailings -- pro se filings, that he does that with his attorney

4    and that he has the permission to do that with his attorney

5    only, Your Honor.    I believe that he will comply, Your Honor,

6    and that he will do what you ask him in that particular regard.

7               Thank you, Your Honor.

8               THE COURT:    Well, first thing I am going to do is

9    determine whether or not -- what the facts are and whether or

10   not there was conduct here that constitutes a violation of the

11   conditions of supervised release, and the condition that's

12   alleged is that the Defendant shall answer truthfully all

13   inquiries by the probation officer and follow the instructions

14   of the probation officer.

15              I am going to find that the Defendant did make

16   threatening gestures toward the probation officer, Ms. Burton.

17   Now, there may be reasons that explain all of this, but the

18   probation officers have to be able to meet with their clients,

19   with the defendants, and be able to enforce the conditions of

20   supervised release; and it is critical that the defendants

21   comply with the requirements that the probation officer

22   reasonably puts on them.

23              In this instance, the facts, as set forth in the

24   petition, are proven by the record before me, and I find them.

25   Ms. Burton is credible.     In fact, I don't find any fact that's

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1    inconsistent with Ms. Burton's story from my point of view;

2    that is, she on April 28th met with the Defendant and with his

3    grandparents and his mother, addressed the issue of sending

4    documents by text to the clerk's office, told him to stop.           He

5    said he had already done that.      The Defendant became upset.

6    They addressed the appointment with the psychiatrist that she

7    arranged that the Defendant had canceled.        The Defendant was

8    not at that time on his medications for any mental health

9    issue.   He had attended all of his sex offender treatment

10   appointments up until that time, but then the Defendant hit

11   items off the table, threw them onto the floor.         Ms. Burton was

12   only 8 to 10 feet away.     The Defendant became agitated, called

13   her a jerk, and twice called her an asshole.         I am not going to

14   tolerate that kind of conduct.      The probation officers don't

15   deserve to be treated like that, and they can't work with the

16   defendants who treat them like that.

17               Now, I credit Ms. Burton when she says she felt

18   threatened enough that she was going to leave.         Others in the

19   family may have seen this behavior over Mr. Hill's lifetime and

20   may understand it in a different context, and I understand

21   that; but in the context of this case, the Defendant made

22   threatening actions that caused the probation officer to have

23   some fear about her safety and based on what she observed at

24   the time.   So she left the residence.

25               So I find those facts, and I find that by a

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1    preponderance of the evidence that is a violation of his

2    supervised release terms.      They were willful actions, and they

3    were not with any lawful excuse.

4               However, as I said, this all seems to result largely

5    from the Defendant's autism, and so that's a key factor that I

6    am going to take into account.      I am not going to fault

7    Ms. Burton for not dealing with somebody who is autistic in the

8    best way possible.    She's here to do her job as a probation

9    officer, and she's doing the best she can do.         Different

10   defendants have to be treated differently; and through this

11   process, we've all learned a little bit of information perhaps

12   as to how Mr. Hill reacts, and to the extent that can be taken

13   into account, then that will be taken into account.

14              Maybe in the future, if there is an issue, then you

15   can work with the family members and figure out how to approach

16   the situation; but on the other hand, a probation officer

17   doesn't have to always give a heads-up to the family members

18   because sometimes it's not appropriate to do that, and they

19   have to confront somebody.      So I am hopeful that this won't

20   happen anymore in the future; but I'm a realist, thinking that

21   with the Defendant's condition, it's entirely possible that

22   this isn't going to be the first time you are going to have

23   this problem, and it won't be the last time.

24              Now, his original conviction was a Class C felony.

25   It is Criminal History Category I.       This appears to be a Grade

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1    C violation.   The guideline calls for 3 to 9 months with the

2    most I could give for imprisonment of 24 months.          He has a

3    10-year supervised release period that he's on.         So any time

4    imposed would be substracted from that.

5               Let me ask, first of all, do the parties agree that

6    that's the proper guideline consideration for purposes of the

7    case?

8               MR. RAMASWAMY:    Yes, sir.

9               MS. PRYOR:    Yes, Your Honor.

10              THE COURT:    Okay.   I am going to conclude we've made

11   that determination correctly.

12              Now, he's been in the jail for a little over a month;

13   right?

14              MS. PRYOR:    Yes, Your Honor.

15              THE COURT:    Okay.   Now, I give heavy weight to the

16   fact that he's autistic and that he is going to have difficulty

17   controlling some of this.      I also am concerned that he seems to

18   be highly intelligent in some areas, including the use of

19   computers and electronic devices.

20              I am concerned that he had a cell phone that had an

21   image of child pornography on it, which he admits.          Without

22   addressing the issue directly, I think it would behoove the

23   parents and grandparents to consider whether they allow the

24   probation officer to further examine their devices to make sure

25   they are not being used improperly by Mr. Hill.         I am not

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1    ordering that that be done.      You offered, I think, that they

2    were willing to do that.     I simply acknowledge I think that's a

3    good idea.   Whether or not there is a legal right to do it or

4    entitlement, I am not going to deal with that today.          I am

5    trying to just deal with the practical reality of the

6    situation.

7               In light of where we are and what I found as facts --

8    you've made an argument, for the most part, on what you think I

9    ought to do.   Normally, my process for these hearings is at

10   this time to see what you have to say about what I should do,

11   but I think I've heard most of that already.         I haven't heard

12   from Mr. Ramaswamy yet, I don't think.

13              Let me start with you, Ms. Pryor.        You indicated, I

14   think, you thought I should continue him on his supervised

15   release.   Is there anything more you want to add to that?

16              MS. PRYOR:    Your Honor, I do agree that you should

17   continue him on his supervised release, Your Honor.          I do

18   believe that he already has a safe home.        I just ask, if you

19   are willing, to allow him to be on home detention or, you know,

20   if electronic monitoring -- if you believe that is, of course,

21   going to do anything different, but definitely home detention.

22   I believe he has a safe home.

23              It's been affecting him -- of course, you've seen

24   through numerous of his complaints, and I know the marshals has

25   done everything that they can to make sure that the jail was

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1    taking care of his health-wise, but it has just not been good

2    for him over at the jail.      I would only ask that you would give

3    him the opportunity to comply with your order today, allow him

4    to go home on home detention, and that he be released to his

5    parents, and to follow any other conditions that you --

6               THE COURT:    One of my concerns about his compliance

7    is I have a host of pro se documents, which I've reviewed.

8               MS. PRYOR:    Yes, Your Honor.

9               THE COURT:    By reading those, there is clearly an

10   attitude of defiance and refusing to accept his own guilty plea

11   and a claim that he's been framed, and he's lashed out at Judge

12   Osteen, which is why you are before me today --

13              MS. PRYOR:    Yes, Your Honor.

14              THE COURT:    -- calling him crooked and many other

15   things.

16              Putting aside the total improper nature of those

17   filings, it doesn't seem to support an argument that he's now

18   on board and wants an opportunity to comply.         It seems to

19   indicate that he is going to fight this every which way,

20   including what you told me a minute ago, and that's that he's

21   going to have a separate lawyer look at some other avenue of

22   relief for him, whatever that might be.

23              So I have to say I am highly skeptical of his

24   attitude as to whether he intends to comply.

25              MS. PRYOR:    And I understand that, Your Honor.          And

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1    one of the things that is in his presentence report is that

2    he's obsessive, I believe, or -- Obsessive-Compulsive Disorder.

3    In it, it states about exactly what you are saying is --

4    because he's confined his life literally to this-- I mean, the

5    entire time he's in jail -- he wrote a pro se document every

6    day he's jail.    He not only wrote it and mailed it to us, but

7    he also made a copy -- he'd write an extra copy to give to me

8    as an attorney, so -- and, Your Honor, I don't think that

9    that -- and I can only explain that by, I mean, this is

10   something he was born with.

11              Set aside, you know, I mean, the fact that this is

12   how his mind thinks --

13              THE COURT:    Let me ask you this:     Are you adopting

14   any of his pro se papers for purposes of today?

15              MS. PRYOR:    Not for purposes of today, no, Your

16   Honor.   I know that he has asked that his other attorney, who

17   is working on the other side, to work on those matters.

18              THE COURT:    Have you spoken with him during the break

19   about whether he intends to continue to press any of the pro se

20   documents today or whether he's withdrawing any of them?

21              MS. PRYOR:    He's withdrawing them for this particular

22   matter, but he wants his other attorney to pursue his other

23   matters -- his matter at hand.      And I have spoken to him, and I

24   believe that he understood that he -- I believe coming from an

25   order from the judge stating that he can pursue his innocence,

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1    but it has to be through his attorney only, I think he would

2    understand that.    He knows that someone is going to be helping

3    him with that part, but I just have to admit to Your Honor his

4    mental state won't allow him to -- I mean, it's like --

5                THE COURT:   While he is represented by counsel, he

6    needs to go through counsel.

7                MS. PRYOR:   Yes.

8                THE COURT:   I am not going to tell him he can't

9    proceed pro se for all purposes because there will be a period

10   of time when you are not representing him anymore.          So you can

11   make that clear to him when you talk to him.

12               MS. PRYOR:   Definitely, Your Honor.

13               THE COURT:   However, he should be advised that the

14   Court will not tolerate filings that impugn the integrity of

15   the decision-makers and other officers of the Court, including

16   probation officers, if it is done unfairly or improperly.            So

17   he needs to be very careful about that.

18               MS. PRYOR:   I sure will, Your Honor.

19               THE COURT:   That's a fair warning at this point.

20   Other judges would have already treated that a different way.

21               MS. PRYOR:   And I understand that.      I've actually

22   explained to him that -- before we came up here, I told him

23   that he has a great judge today that is going to speak to him

24   and help him understand about whether he can file and where he

25   can file.

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1                THE COURT:   All right.    Thank you.

2                Mr. Ramaswamy, what is the Government's position?

3                MR. RAMASWAMY:   I will get to what the Government

4    believes the punishment will be in a moment, but just on the

5    pro se filing side, I noticed most recently the clerk's office

6    seems to have captioned these "filed in a closed case."              But

7    these -- it seems that Mr. Hill was released as part of his

8    initial confinement in November, and these things didn't start

9    at first until almost -- the more comfortable at home, the more

10   it appeared to him he shouldn't have any conditions.          It was an

11   escalation of filing, including the allegations against the

12   District Court, but also others, and it would seem

13   appropriate -- I know Ms. Pryor won't be representing him

14   forever, but there are things that were filed that contained

15   such private information, his medical records, for instance.

16   He's trying to litigate his case through the public filing

17   system, the ECF filing system.      If anyone else other than

18   himself were to file these things, I think there would be

19   sanctions involved.

20               But any filings during whatever period the Court

21   deems appropriate that he cares to file, if it's a method of

22   him dealing with his anxiety, should not be filed but should be

23   sent to Ms. Pryor.

24               THE COURT:   Well, I am going to have a discussion in

25   a moment.   I think the message is clear, but I will talk with

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1    the Defendant about this.

2                My understanding is that she represents he's

3    withdrawing all of those now and that he gets it.          We'll see in

4    a moment.

5                MR. RAMASWAMY:   I am not looking to escalate this

6    particular violation any further, but I think beyond -- it's

7    not that it's de minimis, but the conduct with the probation

8    officer, there is something very concerning, and that is what's

9    on the telephone.    Now, that did not occur in the Middle

10   District, and there is no means for, for instance, grand jury

11   subpoena that the Government might have that examined, but I do

12   think the Court could order that phone examined because if it

13   found it useful, I understand that the --

14               THE COURT:   I think I heard Ms. Pryor say they

15   offered to have it -- did I hear you right on that?

16               MS. PRYOR:   Your Honor, my client wanted Ms. Burton

17   to -- Officer Burton to examine the phone.        I just believe that

18   they didn't have the resources at the time, but I'm assuming --

19   if you order it, I am going to assume that it can be done.

20               THE COURT:   Well, anything can be done by consent.

21               MS. PRYOR:   Okay.

22               THE COURT:   I believe.    There is no reason that --

23               THE PROBATION OFFICER:     Your Honor, there is a

24   condition in place if he is willing to do that.

25               THE COURT:   Okay.

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1                THE PROBATION OFFICER:     We can seek out the resources

2    to make that happen.

3                THE COURT:   So for purposes of proceeding, are you

4    saying that he is consenting to the examination of his phone?

5                MS. PRYOR:   Do you mind if I just quickly ask him?

6                THE COURT:   That will be fine.

7           (Ms. Pryor conferred with the Defendant.)

8                THE COURT:   I want to stop right here.       I am going to

9    ask you in a minute what your answer is.        Don't tell me right

10   now.    I want to go ahead and deal with the sentencing issue

11   first.    Then I will get to that issue because I don't want

12   anybody to think that I conditioned anything I did on whether

13   or not he is going to consent to something.         He's got a right

14   to decide what to do.

15               MR. RAMASWAMY:   Your Honor, ultimately, I guess --

16   it's recommended that he be sentenced to the high end.           I don't

17   know, based on all of that, that that's appropriate here.            It

18   is a complex matter, it was from the beginning, and it led to

19   an unusual agreement by the parties, but I would ask -- I

20   wouldn't ask for anything above the low end.         I know that would

21   be an additional maybe two months' incarceration, but I do

22   think based on the conduct related to Ms. Burton that that

23   would be appropriate, along with perhaps an admonition

24   regarding ECF filings.

25               THE COURT:   What about a residential reentry center?

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1    Has that ever been discussed?      Is that something that --

2               MS. PRYOR:    Your Honor, I saw that as one of the

3    recommendations.    The only issue that I have with the

4    residential reentry center is, Your Honor, they don't

5    specialize -- or none that I saw in my research specialize in

6    anything that deals with, not only his disability, but his

7    health issues.    The residential reentry center, based on my

8    research, is just almost like a, I guess, halfway house where,

9    you know, yes, he would have his independence, but there's

10   no -- it puts him back in a position where he can be exploited,

11   where he can be bullied, where he can be asked to do things

12   that he probably should not be doing, and I think it's just

13   because people would take advantage of him.         And that would be

14   my only reason I would not want him to be right back before you

15   because of somebody exploiting him.

16              So I would only suggest -- I would not be up to

17   recommending, but if that is the recommendation, of course,

18   from the Court, Your Honor, we understand.

19              THE COURT:    Okay.   Mr. Hill, is there anything you

20   would like to say on your own behalf before I make a decision?

21   Let me say something first, sir.       You don't have to say

22   anything, if you don't want to.       You have the right to remain

23   silent.   If you decide that you don't want to say anything, I

24   am not going to hold that against you; but if you do want to

25   say something, then this is the appropriate time before I make

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1    a decision, and I ask you to speak up so we can hear you, if

2    you do, sir.

3                THE DEFENDANT:   May I be allowed to present myself as

4    a witness, Your Honor?

5                MS. PRYOR:   Do you mind if I --

6                THE COURT:   Why don't you have a conversation with

7    him.

8           (Ms. Pryor conferred with the Defendant.)

9                MS. PRYOR:   Thank you, Your Honor.

10               THE DEFENDANT:   I apologize to Ms. Kristy Burton and,

11   you know, I made sure to comply with the conditions of

12   supervised release on the same day I made sure to tell her that

13   I would schedule it that day with Kristen Patterson of Piedmont

14   Community Services, and I told her I wanted to mediate the

15   situation peacefully.     I wanted to meet with her again so I

16   could mediate the situation.      That way, you know, it doesn't

17   escalate, things don't get worse.

18               You know, I want to make sure I am complying with

19   supervised release, and the reason for the pro se motions was

20   not to be mean or nasty to the Court.        All I just wanted to do

21   was prove my innocence, but that's for another matter, for a

22   matter that's going to be with Attorney Cynthia Everson,

23   Attorney-at-Law.

24               I do regret my behavior, and I am willing to get

25   counseling, but the current counselor wasn't really helping me.

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1    What I would like to ask the Court is that I be allowed to seek

2    new private counseling, to find someone who is willing to help

3    me and help with my behavior, and I want to be able to -- I

4    want to comply with the supervised release conditions.

5               And then once I overturn my conviction, that's what I

6    am planning to do, then I can be vacated from that sentence.

7    Until then, I promise under penalty of perjury that I will

8    comply with supervised release until the -- I mean, I will

9    comply.   And the 2255 motion, I don't know if it's going to

10   work or not, but I have a firm belief that it will succeed,

11   but, you know, as long as I am under supervised release, I

12   promise I will comply with supervised release, I promise.

13              THE COURT:    Now, you had several pro se motions you

14   filed in my court in this case, and Ms. Pryor says you now are

15   withdrawing those for purposes of this case.         Is that, in fact,

16   true?

17              THE DEFENDANT:    Yes, sir.

18              THE COURT:    All right.    Thank you.    Mr Cameron and

19   Ms. Burton, can I speak with you just a moment?

20        (Off-the-record discussion.)

21              Okay.   Here is what I am going to do.       I am not going

22   to revoke Mr. Hill right now.      He did violate the conditions of

23   his supervised release.     What I am going to do, though, is

24   modify his conditions, and I am doing this because he made

25   threatening conduct toward the probation officer.          He used

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1    inappropriate verbal language toward the probation officer, as

2    was indicated.    He filed a number of documents that contained

3    highly inappropriate material about a number of things,

4    including the prior district judge, as well as some court

5    officials.

6               I am considering his mental health and his age.           I am

7    going to modify the conditions to include the following:

8               The Defendant shall participate in a cognitive

9    behavioral program as directed by the probation officer.             The

10   programs may include group sessions led by counselors or

11   participation in a program administered by the probation

12   office.   Also, that he cooperatively participate in a mental

13   health treatment program, which may include inpatient and

14   residential treatment as directed by the probation officer.

15              Mr. Hill asked for some different counselor.          I leave

16   the decision of counselors to the probation office, but these

17   are additional conditions.

18              Now, I am going to warn you, Mr. Hill -- and,

19   Ms. Pryor, please tell him -- not to file anything further in

20   the ECF filings that are pro se motions that are inappropriate.

21   As long as you have a lawyer, you go through your lawyer.

22   That's what your lawyer is for.

23              A number of the filings concern me because, as I have

24   said, they have a somewhat near delusional approach to his

25   whole situation, and I am concerned because that suggests that

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1    he thinks that he doesn't have to comply because he doesn't

2    think he's guilty.    He's already pled guilty.       The Court found

3    him guilty.   So as long as he is under this court order entered

4    by the district judge, he has to comply with all these

5    conditions.   Okay?

6               MS. PRYOR:    Yes, Your Honor.

7               THE COURT:    He can file whatever other legal papers

8    he wants to file as long as they are grounded in the law and

9    have a good-faith basis, et cetera; but as long as his judgment

10   in his criminal case stands, he has to comply with these

11   conditions.   If he does not, there will be consequences; and in

12   the future, depending on the violation, they frequently involve

13   going to prison.    Okay.

14              So please be very careful about that, Mr. Hill.

15              Now, are there any other conditions that I missed?

16              THE PROBATION OFFICER:      May I approach, Your Honor?

17              THE COURT:    Yes.   I wanted to add one other

18   condition, and that is, because of the nature of the violation,

19   and I think you invited it, a condition of home incarceration;

20   is that right, Ms. Pryor?

21              MS. PRYOR:    I did, Your Honor.

22              THE COURT:    I am going to amend the conditions of

23   supervised release to add home incarceration for six months.

24              MS. PRYOR:    Six months, Your Honor?

25              THE COURT:    Yes.

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1               MS. PRYOR:    Your Honor, if he's in compliance, is

2    there any way that I could petition the Court in between that

3    time to ask for an early release of home detention, or it is

4    the six months, Your Honor?

5               THE COURT:    It is for six months.

6               MS. PRYOR:    Okay.   Thank you, Your Honor.

7               THE COURT:    You can always ask, but it's unlikely to

8    be anything different.     I am doing that because of the nature

9    of the conduct.

10              MS. PRYOR:    I understand, Your Honor.

11              THE COURT:    So that will be GPS monitoring with home

12   incarceration for six months.

13              So I want Mr. Hill to understand the importance of

14   working with the probation officer.       I want the family to

15   understand the importance of him working with his officer to

16   make sure he is in compliance.

17              MS. PRYOR:    I understand that, Your Honor, and I will

18   explain it to him, Your Honor.

19              THE COURT:    Anything further that I need to address?

20              THE PROBATION OFFICER:      No, Your Honor.

21              THE COURT:    Okay.   All right.    Have you had an

22   opportunity, Ms. Pryor, to speak with him about any rights of

23   appeal that he has?

24              MS. PRYOR:    I did speak with him about appeal rights,

25   Your Honor.

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1               THE COURT:    Please make sure he is aware if he

2    chooses to file notice of appeal that he must do so in writing

3    within 14 days of the entry of the Court's judgment in this

4    case, and that if he cannot afford the cost of his appeal, he

5    can ask the Fourth Circuit to waive the cost of his appeal.

6               MS. PRYOR:    Yes, Your Honor.

7               THE COURT:    Anything further from the parties?

8               MS. PRYOR:    Nothing further from the defense, Your

9    Honor.

10              MR. RAMASWAMY:    No, Your Honor.

11              THE COURT:    All right.    Please work with the

12   probation office, members of the family.        It is an unusual

13   situation.   I understand Mr. Hill's issues with autism.             If you

14   have ways that will help probation, approach them.          I'm sure

15   they will be interested in knowing that.        On the other hand,

16   they have a job to do, and please do everything you can to help

17   the probation officer work with your son and grandson to make

18   sure that probation can do the job that they need to do.

19              Okay.   All right.    Thank you very much.      We'll be

20   adjourned for the day.

21        (END OF PROCEEDINGS AT 5:11 P.M.)

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1    UNITED STATES DISTRICT COURT

2    MIDDLE DISTRICT OF NORTH CAROLINA

3    CERTIFICATE OF REPORTER

4

5

6               I,   Briana L. Nesbit, Official Court Reporter,

7    certify that the foregoing transcript is a true and correct

8    transcript of the proceedings in the above-entitled matter.

9

10              Dated this 21st day of August 2015.

11

12

13                              _______________________
                                Briana L. Nesbit, RPR
14                              Official Court Reporter

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